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lN THE UN|TED STATES D|STR|CT COURT

 

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UN|TED STATES OF AMER|CA

Plaintiff, Cr. No. 0 5 -1 0 0 51 - T

V.

DANNY BERNARD DAV|S,
Defendant.

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APPL|CAT|ON, ORDER and WR|T FOR HABEAS CORPUS AD PROSEQUENDUM

 

The United States Attorney's Office applies to the Court for a Writ to have DANNY
BERNARD DAV|S, now being detained in the |Vladison County Jai|, appear before the Honorab|e
S. Thomas Anderson on "Y'UE>WAY ,. 615/lim i!{:’&§ , at § ‘-£U arm/grind
for initial appearance for such other appearances as this Court may direct -

Respectfu||y submitted this %M day of Ju|y 2005.

    
  

 

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MES VV. POVVELL
Assistant U. S. Attorney

 

ORDER

 

Upon consideration of the foregoing App!ication,
David Jol|ey, U.S. |V|arshaii, Western District of Tennessee, and i\/|adison County Sheriff:

YOU ARE HEREBY CON|MANDED to have DANNY BERNARD DAV|S, appear before the
Honorabie S. Thomas Anderson at the date and time aforementioned

ENTEREDthiS 344 day of YQL] 2005.

walk

S. THOMAS ANDERSON
United States Magistrate Judge

This document entered on the docket sheet in compliance
with nme 55 and/or 3203 Fnch on 7

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:05-CR-10051 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

